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·1· · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE DISTRICT OF MINNESOTA
·2

·3· · IN RE:· · · · · · ·) No. 0:18-cv-01776-JRT-HB
· · · · · · · · · · · · ·)
·4· · PORK ANTITRUST· · ·) VIDEOTAPED DEPOSITION
· · · LITIGATION· · · · ·) OF DWIGHT MOGLER
·5· · · · · · · · · · · ·)
· · · -------------------)
·6

·7

·8· · · · · · · · · THE VIDEOTAPED DEPOSITION OF

·9· ·DWIGHT MOGLER, taken before Chris A. Quinlin,

10· ·Registered Professional Reporter and Notary

11· ·Public of the State of Iowa, commencing at

12· ·9:01 a.m., July 22, 2022, at 801 Grand Avenue,

13· ·33rd Floor, Des Moines, Iowa.

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19· · · ·Reported by:· Chris A. Quinlin, R.P.R.

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·1· ·to be used as a wean-to-finish, but if it's

·2· ·built to accommodate weaned pigs, it by default

·3· ·is also -- it meets the criteria for being a

·4· ·grow-finish barn as well.

·5· · · ·Q.· ·Okay.· But if you're a producer and you

·6· ·want to specialize in farrowing, you can do

·7· ·that.· You can specialize in just one segment of

·8· ·the business.

·9· · · ·A.· ·That is correct.

10· · · ·Q.· ·And similarly, if you owned a nursery

11· ·facility, you could specialize in -- in

12· ·purchasing weaner pigs and selling feeder pigs

13· ·if you wanted to?

14· · · ·A.· ·If you wanted to.

15· · · ·Q.· ·Yeah.

16· · · ·A.· ·Typically it would be as a contract

17· ·feeder, but it is possible to just buy and sell

18· ·quickly as a -- buying a weaned pig and selling

19· ·a feeder pig, yes.

20· · · ·Q.· ·And then if you're a producer that

21· ·wants to focus on finishing, you can just focus

22· ·on finishing?

23· · · ·A.· ·That is correct.

24· · · ·Q.· ·Okay.· How many hogs do you currently

25· ·market per year for your operation?


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·1· · · ·A.· ·2022 our target will be 220,000.

·2· · · ·Q.· ·And how many of those hogs would you

·3· ·intend to sell on the spot market versus under a

·4· ·marketing agreement?

·5· · · ·A.· ·We would intend to sell during this

·6· ·calendar year 8 percent.

·7· · · ·Q.· ·8 percent on the spot market?

·8· · · ·A.· ·That is correct.

·9· · · ·Q.· ·Okay.· So you're going to sell

10· ·somewhere less than 20,000 head on the spot

11· ·market?

12· · · ·A.· ·That is correct.

13· · · ·Q.· ·And the rest of your hogs are going in

14· ·under a marketing agreement?

15· · · ·A.· ·That is correct.

16· · · ·Q.· ·Who do you have marketing agreements

17· ·with?

18· · · ·A.· ·We have four separate marketing

19· ·agreements.· The largest marketing agreement we

20· ·have is with Hormel Foods.· And those live pigs

21· ·are delivered to their harvest facility in

22· ·Austin, Minnesota.

23· · · · · · · · · The second largest is with

24· ·Prestage Foods.· And they have a harvest

25· ·facility in Wright County, Iowa, near Eagle


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·1· ·Grove.

·2· · · · · · · · · The third marketing agreement we

·3· ·have is with Wholestone Farms.· And their

·4· ·harvest facility is in Fremont, Nebraska.

·5· · · · · · · · · And then the fourth agreement we

·6· ·have is with what I call a third party, Big

·7· ·Stone Marketing.· But Big Stone Marketing has an

·8· ·agreement with JBS Swift at their harvest

·9· ·facility in Worthington, Minnesota.

10· · · ·Q.· ·Okay.· So if I'm going to break that

11· ·down, your pigs are going to four plants?

12· · · ·A.· ·That is correct.

13· · · ·Q.· ·You have some pigs going to Hormel

14· ·Foods in Austin, Minnesota?

15· · · ·A.· ·Correct.

16· · · ·Q.· ·You have some pigs going to JBS in

17· ·Worthington, Minnesota?

18· · · ·A.· ·Correct.

19· · · ·Q.· ·You have some pigs going to Prestage in

20· ·Iowa -- excuse me --

21· · · ·A.· ·Eagle Grove.

22· · · ·Q.· ·Eagle Grove, Iowa.· And then you have

23· ·some pigs going to Tyson?

24· · · ·A.· ·Wholestone Farms.

25· · · ·Q.· ·Wholestone at Fremont?


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·1· · · ·A.· ·At Fremont, Nebraska.· That is correct.

·2· · · ·Q.· ·Okay.· And why -- And then you sell

·3· ·some pigs in the spot market?

·4· · · ·A.· ·Yes.· And then we would have a small

·5· ·percentage -- now, a little seasonal here, and

·6· ·there's reasons for it, but actually, beginning

·7· ·in August we will have closer to 15 percent of

·8· ·our pigs being marketed in the open market, but

·9· ·on average for the calendar year it will be 8

10· ·percent.

11· · · ·Q.· ·Okay.· Now, in addition to the four

12· ·different packers that you market your hogs

13· ·to --

14· · · ·A.· ·Yes.

15· · · ·Q.· ·-- you could also market hogs to Tyson?

16· · · ·A.· ·That is correct.

17· · · ·Q.· ·Tyson has plants in proximity to you?

18· · · ·A.· ·Yes.

19· · · ·Q.· ·At Storm Lake?

20· · · ·A.· ·Yes.· And Madison, Nebraska, would be

21· ·the second closest Tyson plant.· And we have

22· ·actually delivered over the years to four

23· ·different Tyson plants.

24· · · ·Q.· ·Okay.· So you currently have contracts

25· ·to deliver to four different processing plants,


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·1· · · ·Q.· ·Seaboard is a buyer?

·2· · · ·A.· ·Correct.

·3· · · ·Q.· ·Prestage is a buyer?

·4· · · ·A.· ·Correct.

·5· · · ·Q.· ·Hormel is a buyer?

·6· · · ·A.· ·Correct.

·7· · · ·Q.· ·Any others?

·8· · · ·A.· ·You had mentioned HyLife.

·9· · · ·Q.· ·Yep.

10· · · ·A.· ·Previously known as Prime Pork before

11· ·the HyLife acquisition or investment.· In

12· ·addition to that, I refer to them as

13· ·Sioux-Preme, but they are Natural Food Holdings,

14· ·which is part of the -- I'm drawing a blank here

15· ·right now.· Perdue.· Perdue Family Farms in

16· ·Sioux Center, Iowa.· We market pigs there

17· ·occasionally.

18· · · · · · · · · We also seek out bids from

19· ·Smithfield's facility -- harvest facility in

20· ·Denison, Iowa.· In addition to the Tyson plant

21· ·in Storm Lake, Iowa, and Madison, Nebraska, we

22· ·have also delivered pigs in the past to

23· ·Waterloo, Iowa, as well as on one occasion

24· ·Columbus Junction, Iowa.

25· · · · · · · · · JBS Swift has a harvest facility


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·1· ·in Marshalltown, Iowa.· We have shipped pigs

·2· ·there before.· Triumph Foods, independent of

·3· ·Seaboard, has a harvest facility in St. Joseph,

·4· ·Missouri.· We have shipped pigs there.· On one

·5· ·very rare occasion we have actually shipped pigs

·6· ·to Seaboard's facility in Guymon, Oklahoma.

·7· · · · · · · · · And then in addition to that,

·8· ·there would be a Smithfield plant in Crete,

·9· ·Nebraska, but I think I pretty much have

10· ·exhausted most of the logistically feasible

11· ·harvest facilities that we could ship truckload

12· ·quantities of pigs to.

13· · · ·Q.· ·So that sounds like over a dozen

14· ·different market outlets for your market hogs.

15· · · ·A.· ·Absolutely.· Yes.

16· · · ·Q.· ·Now, when you sell cull hogs, cull hogs

17· ·go to different buyers; right?

18· · · ·A.· ·Correct.· So the cull hog market,

19· ·because they are shipped in smaller quantities,

20· ·go to companies that are more of a brokerage or

21· ·a -- I call them jobbers.

22· · · · · · · · · So they have delivery points

23· ·where they assemble large groups of hogs so that

24· ·they can be then further transported in

25· ·truckload quantities to harvest facilities that


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·1· ·harvest what I would call -- well, it's both for

·2· ·sows as well as for cull -- cull pigs, which are

·3· ·very safe and very -- you know, enter the food

·4· ·system and are inspected by USDA officials, but

·5· ·they are nontraditional carcass sizes and

·6· ·nontraditional grades of pork.

·7· · · ·Q.· ·Okay.· So for your cull sows, where do

·8· ·the cull sows go?

·9· · · ·A.· ·So we market to two markets.· And

10· ·they're both collection points.· One is Heinold.

11· ·Heinold has a collection point just north of

12· ·Sheldon, Iowa, along U.S. Highway 60 or Iowa

13· ·Highway 60.· And then the other one would be to

14· ·Lynch.· And they would have a collection

15· ·facility in Sibley, Iowa.· Those would be the

16· ·predominant locations for cull sows.

17· · · ·Q.· ·And -- And Heinold and Lynch, they

18· ·operate processing facilities that process cull

19· ·animals?

20· · · ·A.· ·To my knowledge, Heinold does not, but

21· ·Lynch does.· But both of those organizations

22· ·don't necessarily -- well, in Lynch's situation,

23· ·they do not harvest all the pigs they buy.· They

24· ·do resell to other harvesters.· And I'm pretty

25· ·sure Heinold exclusively resells, because I do


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·1· ·not think Heinold owns a harvest facility.

·2· · · ·Q.· ·Okay.· So coming back to your own

·3· ·sales, from a marketing agreement standpoint,

·4· ·you have four marketing agreements currently.

·5· ·And it sounds like you have a fifth one coming

·6· ·online this fall with Tyson; right?

·7· · · ·A.· ·Correct.· Correct.

·8· · · ·Q.· ·Why is it that you spread your sales

·9· ·out among five different packers instead of just

10· ·contracting with one?

11· · · ·A.· ·It's one way that we manage

12· ·counterparty risk, knowing that we go through on

13· ·a regular basis a renegotiation of marketing

14· ·agreements.· And so not only does it allow us to

15· ·negotiate from a point of strength when we

16· ·negotiate marketing agreements, but it also

17· ·gives us a great opportunity to differentiate

18· ·between the various relationships.· And some

19· ·relationships expand over time and some

20· ·relationships diminish over time.

21· · · ·Q.· ·Do the packers compete for the

22· ·opportunity to receive your market hogs?

23· · · ·A.· ·Absolutely they do.

24· · · ·Q.· ·And you maintain relationships with

25· ·four or five of them at any given time just to


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·1· ·make sure you're maintaining that contact?

·2· · · · · · · · · MR. JAGHER:· Objection to form.

·3· · · ·A.· ·We would maintain relationships with

·4· ·perhaps seven packers at any one time.· And so

·5· ·we would have certain ones who we would put on

·6· ·our prospect list.

·7· · · ·Q.· ·Okay.· What is a meat matrix, also

·8· ·called a meat grid?· What is that?

·9· · · ·A.· ·So that would be a way that a pork

10· ·processor or harvest facility would

11· ·differentiate values of the carcass.· The most

12· ·important method of differentiation is the

13· ·actual carcass weight, meeting a specific weight

14· ·target.· And then the second method is typically

15· ·back fat thickness, which is an indicator of

16· ·leanness.· And then the third one would be loin

17· ·depth.

18· · · · · · · · · And so there are various tools

19· ·used in the industry to measure that at line

20· ·speed at these facilities, but those would be

21· ·the three primary drivers of the meat grid.

22· · · ·Q.· ·Okay.· So packers will pay premiums or

23· ·take a discount based on where the carcass falls

24· ·on their meat grid?

25· · · ·A.· ·Absolutely.· Correct.


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·1· ·that through tools available in the marketplace

·2· ·to protect revenue for a future delivery of a

·3· ·pig through futures markets, the CME, and also

·4· ·be able to protect the cost of a future purchase

·5· ·of a feedstuff, such as Chicago Board of Trade

·6· ·on corn and soybean meal.

·7· · · ·Q.· ·So essentially you saw what was coming

·8· ·with ethanol.· You went out and acquired a grain

·9· ·elevator; right?

10· · · ·A.· ·We built a grain elevator.

11· · · ·Q.· ·Yep.· And then you began taking

12· ·positions to try to protect yourself from the

13· ·price risk?

14· · · ·A.· ·A very pivotal moment in our method of

15· ·managing risk.· Prior to that we did not

16· ·participate in futures markets because we

17· ·managed risk by having a high level of

18· ·confidence in the stability of feed costs and

19· ·the price discovery process on the -- on pigs.

20· · · · · · · · · And you can go back and track

21· ·Iowa State data, and it would show you that very

22· ·typical, three quarters of profits in a pig --

23· ·in a farrow-to-finish model with one quarter of

24· ·losses, and the three quarters of profits would

25· ·exceed the one quarter of losses.· And so when


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·1· ·we would have a price cycle, often referred to

·2· ·as the hog cycle, the market responded very

·3· ·quickly by adjusting supply of pigs to

·4· ·counteract downturns in prices.

·5· · · ·Q.· ·Okay.· Let me ask you about that, the

·6· ·hog cycle.

·7· · · ·A.· ·Yes.

·8· · · ·Q.· ·The hog cycle refers to the fact that

·9· ·there are periods where you make money in the

10· ·pork business, in the hog business, and then

11· ·there's a period where you lose money?

12· · · ·A.· ·That is correct.

13· · · ·Q.· ·And what is the typical span from the

14· ·beginning to end of a hog cycle?· How many

15· ·years?

16· · · ·A.· ·There's a lot of debate of whether it's

17· ·the same today as what it used to be, because of

18· ·the dynamics of the global marketplace.· And so

19· ·global factors have become more impactful, and

20· ·so hence the debate of what the correct answer

21· ·is to that.

22· · · · · · · · · It used to be a four-year cycle.

23· ·And I think you could make the case that it has

24· ·been extended to an eight-year cycle today.

25· · · ·Q.· ·Okay.· But when we talk about a cycle,


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·1· ·what we're talking about is there will be a

·2· ·period in time where producers are making money

·3· ·on pigs.

·4· · · ·A.· ·Yeah.

·5· · · ·Q.· ·And so they will expand their

·6· ·operations.

·7· · · ·A.· ·Yep.

·8· · · ·Q.· ·Right?

·9· · · ·A.· ·Yes.

10· · · ·Q.· ·And --

11· · · · · · · · · MR. JAGHER:· Objection to form.

12· · · ·Q.· ·And then the supply of -- the supply of

13· ·pork gets bigger, to the point where the

14· ·producers are no longer making as much money --

15· · · ·A.· ·Correct.

16· · · ·Q.· ·-- or maybe even losing money?

17· · · ·A.· ·Correct.

18· · · ·Q.· ·And so then they pull back on their

19· ·production?

20· · · ·A.· ·Correct.

21· · · ·Q.· ·And so then you go through a period of

22· ·time where the herd may be declining?

23· · · ·A.· ·Correct.

24· · · ·Q.· ·And then eventually the margins improve

25· ·again, so the producers re-enter the market and


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·1· ·start producing again?

·2· · · ·A.· ·Correct.· And you're speaking in

·3· ·aggregate, the entire industry.

·4· · · ·Q.· ·Yes.· Yes.

·5· · · ·A.· ·Then yes, that is correct.

·6· · · · · · · · · MR. JAGHER:· Objection to form.

·7· · · ·Q.· ·So the way that would look -- the way

·8· ·this would look visually, if we wanted to plot

·9· ·the hog cycle over time --

10· · · ·A.· ·Correct.

11· · · ·Q.· ·-- it would be like a ball bouncing up

12· ·and down?

13· · · ·A.· ·That is correct.· That is correct.

14· · · ·Q.· ·And throughout that time period, if we

15· ·go back to the late 1970s when your family got

16· ·involved in production --

17· · · ·A.· ·Correct.

18· · · ·Q.· ·-- the size of the industry has

19· ·expanded?

20· · · ·A.· ·Correct.

21· · · ·Q.· ·And so --

22· · · ·A.· ·Well, the size as far as total pounds

23· ·of production.

24· · · ·Q.· ·Yes.

25· · · ·A.· ·But actually, the size of the U.S. sow


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·1· ·herd has continued to shrink because of

·2· ·productivity increases.

·3· · · ·Q.· ·Okay.

·4· · · ·A.· ·So it depends on how you measure size.

·5· · · ·Q.· ·Right.· So if we go back to the late

·6· ·1970s, we were producing fewer pigs per litter.

·7· · · ·A.· ·Correct.

·8· · · ·Q.· ·So we needed more sows to feed that

·9· ·demand.

10· · · ·A.· ·Correct.· Correct.

11· · · ·Q.· ·Today we're producing more pigs per

12· ·litter, so we actually can do it with less sows.

13· · · ·A.· ·That is correct.

14· · · ·Q.· ·And then we're marketing a larger

15· ·weight animal, so the total pounds to produce is

16· ·higher.

17· · · ·A.· ·That is correct.· That is correct.

18· · · ·Q.· ·So if we look at this in terms of -- if

19· ·we -- if we wanted to visualize this, based on

20· ·the pounds of pork produced, with the hog cycle

21· ·it would be like a ball bouncing slowly uphill;

22· ·right?

23· · · ·A.· ·That is correct.

24· · · ·Q.· ·And there would be periods going all

25· ·the way back to 1970 where there would be


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·1· · · · · · · · · MR. JAGHER:· Objection to form.

·2· · · ·Q.· ·You're eroding your capital and your

·3· ·equity?

·4· · · ·A.· ·Yeah.· Yeah.

·5· · · · · · · · · MR. JAGHER:· Objection to form.

·6· · · ·A.· ·Which means your debt is increasing and

·7· ·your equity is reducing, because you still have

·8· ·to balance your balance sheet.

·9· · · ·Q.· ·Right.· You get to the period in the

10· ·hog cycle, you're coming into the spring of

11· ·2009, you're heading into that summer

12· ·seasonality period --

13· · · ·A.· ·Correct.

14· · · ·Q.· ·-- where you were expecting higher

15· ·prices?

16· · · ·A.· ·Correct.

17· · · · · · · · · MR. JAGHER:· Objection to form.

18· · · ·Q.· ·But you end up with the swine flu, the

19· ·demand is tamped down?

20· · · ·A.· ·Correct.

21· · · ·Q.· ·And so you don't have that -- that

22· ·period of good margins for the summer of '09?

23· · · ·A.· ·That is correct.

24· · · ·Q.· ·So then you end up having to weather a

25· ·longer economic downturn?


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·1· · · ·A.· ·Correct.

·2· · · ·Q.· ·And some producers didn't make it?

·3· · · ·A.· ·That is correct.

·4· · · · · · · · · MR. JAGHER:· Objection to form.

·5· · · ·Q.· ·During that time period, do you recall

·6· ·a time period there in that summer 2009 period

·7· ·where the weaner pig market went down to less

·8· ·than $10 a head?

·9· · · ·A.· ·Yes.· I couldn't specifically give you

10· ·the date, but yes, there was times when weaner

11· ·pigs were essentially free, FOB, or at the sow

12· ·farm if you were willing to pay the freight to

13· ·get those pigs, they would sell them to you for

14· ·simply the cost of freight because that saved

15· ·them the dilemma of needing to do mass

16· ·euthanasia, which is a very demoralizing act for

17· ·a farmer.

18· · · ·Q.· ·Do you recall that there was, in fact,

19· ·euthanization of weaner pigs in 2009?

20· · · ·A.· ·I did not visualize it, but yes, I

21· ·heard instances of it happening, yes.

22· · · ·Q.· ·So that means that there were farrowing

23· ·producers -- the weaner pig that they were

24· ·producing had a negative value?

25· · · ·A.· ·Correct.


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·1· · · ·Q.· ·And so rather than trying to produce

·2· ·that pig, they were forced to euthanize those

·3· ·pigs?

·4· · · ·A.· ·Correct.

·5· · · ·Q.· ·Kill them?

·6· · · ·A.· ·Yes.· Dispose of them as a dead

·7· ·carcass, yes.

·8· · · ·Q.· ·And then dispose of them en masse?

·9· · · ·A.· ·Yes.

10· · · ·Q.· ·Because of how bad the market was for

11· ·pork in that 2009 time period?

12· · · ·A.· ·Yeah.· The two --

13· · · · · · · · · MR. JAGHER:· Objection to form.

14· · · ·A.· ·Yeah.· That is correct.

15· · · ·Q.· ·Okay.· That was unprecedented?

16· · · ·A.· ·At that point it was unprecedented.

17· · · · · · · · · MR. JAGHER:· Objection to form.

18· · · ·A.· ·The only time we repeated that was two

19· ·years ago during the plant shutdowns due to

20· ·the -- the COVID pandemic of 2020.

21· · · ·Q.· ·Yeah.· And the plant shutdown issue was

22· ·when the plants were shut down, the market hogs

23· ·couldn't leave the finishing barns.

24· · · ·A.· ·Correct.

25· · · ·Q.· ·And so you couldn't move them out, so


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·1· · · ·A.· ·So -- Yep.· So that was a one-year

·2· ·marketing agreement.· We started delivering the

·3· ·second week of January of this current calendar

·4· ·year, 2022.· And that is -- expires at the end

·5· ·of this calendar year.· So that is a one-year

·6· ·agreement to Wholestone Farms.· That is in a

·7· ·quantity of 40,000 pigs that we will deliver

·8· ·during this calendar year to Wholestone Farms.

·9· · · ·Q.· ·So another 20 percent to Wholestone --

10· · · ·A.· ·That is --

11· · · ·Q.· ·-- of your total sales?

12· · · ·A.· ·That is -- That is correct.

13· · · ·Q.· ·And in terms of your sales to -- you

14· ·said Big Stone Marketing?

15· · · ·A.· ·Yes.· So Big Stone Marketing --

16· · · ·Q.· ·And that is JBS Swift?

17· · · ·A.· ·Yep.· Big Stone Marketing would be a

18· ·third party that we sell through to access JBS

19· ·Swift.· We actually had been at 30,000 pigs per

20· ·year.· And I'm talking had been, I'm talking the

21· ·recent past.· We were served notice -- And that

22· ·was in two separate agreements.

23· · · · · · · · · So we had two different Big Stone

24· ·Marketing agreements.· Each of them were for

25· ·15,000 pigs per year.· And one of those


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·1· ·agreements expired March 31st of 2022.· And so

·2· ·since March 31st or April 1st of this year our

·3· ·annual rate is 15,000 pigs per year to JBS

·4· ·Swift.· And that will expire March 31st of 2023.

·5· ·So we will have -- at this point we have no

·6· ·marketing agreements with JBS Swift beyond

·7· ·March 31st of 2023.

·8· · · ·Q.· ·And that's right now about what, 10

·9· ·percent of your sales?

10· · · ·A.· ·So it would actually be a little less,

11· ·since we're at a 15,000-pigs-per-year annual

12· ·pace on annual marketings of about 220,000.· So

13· ·a little less than 10 percent today.

14· · · ·Q.· ·Okay.· And those four purchasers make

15· ·up the entirety of your sales; is that correct?

16· · · ·A.· ·So with the sum of those obligations,

17· ·90,000 to Hormel, 42,000 to Prestage, 40,000 to

18· ·Wholestone, we're talking 172.· I'm doing math

19· ·in my head.· And then another 15,000.· That

20· ·would be 187,000 pigs per year is what we are

21· ·contractually obligated to deliver in sum to

22· ·those four processors.

23· · · · · · · · · And we are marketing 220,000

24· ·annually.· So everything above and beyond that

25· ·187,000-pigs-per-year figure would be sold on


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·1· ·what we call an open market or negotiated or

·2· ·spot market basis, multiple terms that refer to

·3· ·uncommitted pigs and how they are priced and

·4· ·traded.

·5· · · ·Q.· ·Okay.· You stated that you had sold to

·6· ·Tyson before; is that correct?

·7· · · ·A.· ·Yes.· We actually were in a marketing

·8· ·agreement with Tyson for a number of years.

·9· ·Began in the late '90s.· Approximately 1997.

10· ·And we maintained that relationship through

11· ·2010.

12· · · ·Q.· ·Okay.· And you don't sell to them

13· ·anymore; correct?

14· · · ·A.· ·Only on an open market basis.· Meaning

15· ·when we have excess production available, excess

16· ·sales available, we will negotiate and offer

17· ·them to Tyson.· Occasionally they will be

18· ·rewarded with a purchase, but we have entered

19· ·into an agreement to begin delivering pigs to

20· ·Tyson on a marketing agreement at the pace of

21· ·20,000 pigs per year.· And that begins

22· ·October 1st of 2022.

23· · · ·Q.· ·And the last time you had a contract

24· ·with Tyson was in 2010, you said?

25· · · ·A.· ·Yes.· It expired December 31st of 2010.


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·1· · · ·Q.· ·Okay.· And you said you no longer sell

·2· ·to Smithfield; is that correct?

·3· · · ·A.· ·That is correct.· And actually, the

·4· ·reason, if you want that, why we no longer ship

·5· ·to Tyson is because in the interim there, from

·6· ·late -- I'm going to say 2008, 2009, we began a

·7· ·marketing agreement with Smithfield.· Actually,

·8· ·at the time I called them John Morrell, but they

·9· ·now are Smithfield universal across all the

10· ·plants they operate.

11· · · · · · · · · But that -- that agreement

12· ·started roughly 2008, '9.· I'm -- I'm a little

13· ·fuzzy on the exact start of that agreement.· And

14· ·that went through 2016.· We have not had a

15· ·marketing agreement with Smithfield since 2016.

16· · · ·Q.· ·Okay.· And then same with Seaboard,

17· ·you're no longer selling to Seaboard; is that

18· ·correct?

19· · · ·A.· ·We have never had a marketing

20· ·agreement.· And so if and when we sell to

21· ·Seaboard, it is on a negotiated or spot market

22· ·basis only.

23· · · ·Q.· ·And so when you sold to Smithfield from

24· ·'08 to 2016, roughly what percentage of your

25· ·sales went to Smithfield?


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